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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                                     MDL NO. 2924
   PRODUCTS LIABILITY                                                                              20-MD-2924
   LITIGATION
                                                                 JUDGE ROBIN L. ROSENBERG
                                                        MAGISTRATE JUDGE BRUCE E. REINHART
   _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES


                         SUGGESTION OF BANKRUPTCY
                  FOR RITE AID CORPORATION AND CERTAIN OF
        ITS AFFILIATES AND NOTICE OF AUTOMATIC STAY OF PROCEEDINGS


           PLEASE TAKE NOTICE that, on October 15, 2023, Rite Aid Corporation and certain

   of its affiliates (each, a “Debtor” and, collectively, the “Debtors”) 1 filed voluntary petitions for

   relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101—1532

   (the “Bankruptcy Code”), in the United States Bankruptcy Court for the District of New Jersey

   (the “Bankruptcy Court”).         A copy of the voluntary petition of the lead Debtor, Rite Aid

   Corporation (Case No. 3:23-bk-18993), is attached hereto as Exhibit A. The undersigned counsel

   has endeavored to identify the cases in this litigation that are affected by the bankruptcy stay. A

   list of such affected cases is attached hereto as Exhibit B. The undersigned counsel will promptly

   notify the Court to the extent that any changes to this list are necessary.

           PLEASE TAKE FURTHER NOTICE that each of the Debtor’s chapter 11 cases

   (collectively, the “Chapter 11 Cases”) is pending before the Honorable Michael B. Kaplan.



   1   The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
       Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
       website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid. The
       location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in these
       chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
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           PLEASE TAKE FURTHER NOTICE that, pursuant to section 362(a) of the Bankruptcy

   Code, the Debtors’ filing of their respective voluntary petitions operates as a stay of:

           (1) the commencement or continuation, including the issuance or employment of
           process, of a judicial, administrative, or other action or proceeding against the
           debtor that was or could have been commenced before the commencement of the
           case under this title, or to recover a claim against the debtor that arose before the
           commencement of the case under this title; (2) the enforcement, against the debtor
           or against property of the estate, of a judgment obtained before the commencement
           of the case under this title; [and] (3) any act to obtain possession of property of the
           estate or of property from the estate or to exercise control over property of the
           estate. . . .

   11 U.S.C. § 362(a)(1)–(3). 2 No order has been sought or entered in the Chapter 11 Cases granting

   any relief to any party from the automatic stay.

           PLEASE TAKE FURTHER NOTICE that any action taken against the Debtors without

   obtaining from the Bankruptcy Court relief from the automatic stay may be void ab initio and

   result in a finding of contempt for violation of the automatic stay. Any party wishing to take action

   against the Debtors should contact the Debtors’ counsel (shayne.henry@kirkland.com) before

   taking any action in the above-captioned proceeding to ensure that such action does not constitute

   a violation of the automatic stay. The Debtors reserve and retain all rights to seek relief in the

   Bankruptcy Court from any judgment, order, or ruling entered in violation of the automatic stay.

           PLEASE TAKE FURTHER NOTICE that additional information regarding the Chapter

   11 Cases may be obtained free of charge by visiting the website of the Debtors’ proposed claims

   and noticing agent at https://restructuring.ra.kroll.com/RiteAid. You may also obtain copies of

   any pleadings by visiting the Court’s website at https://ecf.njb.uscourts.gov/ (PACER login and

   password required) in accordance with the procedures and fees set forth therein.



   2   Nothing herein shall constitute a waiver of the Debtors’ rights to assert any claims, counterclaims, defenses, rights
       of setoff or recoupment, or any other claims against any party to the above-captioned case.


                                                              2
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   Dated: October 18, 2023            Respectfully submitted,

                                      /s/ Robyn S. Maguire
                                      Robyn S. Maguire
                                      BARNES & THORNBURG, LLP
                                      One Marina Park Drive, Suite 1530
                                      Boston, MA 02210
                                      Tel: (617) 316-5316
                                      robyn.maguire@btlaw.com

                                      Sarah E. Johnston
                                      BARNES & THORNBURG LLP
                                      2029 Century Park East, Suite 300
                                      Los Angeles, CA 90067
                                      Tel: (310) 284-3798
                                      sjohnston@btlaw.com

                                      Attorneys for Defendant Rite Aid Hdqtrs. Corp.,
                                      improperly named as Rite Aid Corporation
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 18th day of October, 2023, I filed the foregoing Suggestion of
   Bankruptcy electronically through the CM/ECF system, which will send notice of filing to all
   CM/ECF participants.

                                                       /s/ Robyn S. Maguire
                                                       Robyn S. Maguire
